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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

JOHN CAMERON and
JOSHUA HACKNEY                                                                        PLAINTIFF

v.                                Case No. 4:18-cv-00271 KGB

DILLON TRANSPORTATION, LLC and
JEFFERY THOMPSON                                                                  DEFENDANTS

                                            ORDER

       Before the Court is the parties’ joint stipulation of dismissal with prejudice (Dkt. No. 23).

The stipulation accords with the terms of Federal Rule of Civil Procedure 41(a)(1)(A)(ii).

       For good cause shown, the Court adopts the stipulation of dismissal. The action is

dismissed with prejudice with each party to bear its own fees and costs.

       It is so ordered this 16th day of October, 2020.

                                                     ________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
